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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :

                 v.                     :              No. 24-mj-361

JAMES CARROLL                           :

                              MOTION TO CONTINUE HEARING

          James Carroll, through undersigned counsel, respectfully moves this Honorable Court to

continue the detention hearing currently set for November 25, 2024. Counsel needs additoinal

time to prepare a proposed release plan for Mr. Carroll. Counsel requests a continuance to

December 18, 2024. Due to the pending motion for detention, the speedy trial clock will be

tolled.

          For the foregoing reasons, Mr. Carroll asks the Court to vacate the detention hearing

scheduled for November 25, 2024 until December 18, 2024.

                                                Respectfully submitted,

                                                A. J. KRAMER
                                                FEDERAL PUBLIC DEFENDER

                                                /s/ Diane Shrewsbury
                                                Diane Shrewsbury
                                                Assistant Federal Public Defender
                                                625 Indiana Avenue, N.W., Suite 550
                                                Washington, D.C. 20004
                                                (202) 208-7500




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :

             v.                   :              No. 23-cr-440 (CKK)

MIKAIL WILLIAMS                   :

                                 [PROPOSED] ORDER

      Upon consideration of Mr. Williams’s Consent Motion to Continue, it is hereby

      ORDERED that the Motion is GRANTED; it is further

      ORDERED that the status conference set for July 16, 2024 is VACATED and a plea

hearing is set on _________________________ at __________a.m./p.m.

      SO ORDERED.

DATE:                                     _____________________________
                                          COLLEEN KOLLAR-KOTELLY
                                          UNITED STATES DISTRICT JUDGE




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